 Case 18-34197-hdh13 Doc 53 Filed 11/27/19          Entered 11/27/19 14:38:55     Page 1 of 2



PRICE AND PRICE LAW, P.C.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE:                                       §        CASE NO. 18-34197-13
                                             §
  Daryl D. Rogers and                        §        CHAPTER 13
                                             §
  Lovie Tasker-Rogers                        §        Pre-Hearing: 1/30/2020 at 8:30am
      DEBTORS                                §
                                             §        Hearing: 1/30/2020 at 2:00pm

 AMENDED NOTICE OF HEARING ON OBJECTION TO PROOF OF CLAIM #8 FILED
                             BY BMO HARRIS BANK
  PLEASE BE ADVISED that a pre-hearing conference will be held on 1/30/2020 at 8:30am with

the Chapter 13 Trustee concerning the OBJECTION TO PROOF OF CLAIM #8 FILED BY BMO

HARRIS BANK at 105 Decker Court, Ste 120, Irving, Texas, 75062.

  Any objections to the OBJECTION TO PROOF OF CLAIM #8 FILED BY BMO HARRIS

BANK not resolved or defaulted at the Trustee's Pre-Hearing Conference will be heard by the

Court on 1/30/2020 at 2:00pm in Judge Harlin D. Hale's Courtroom, Earle Cabell Federal Building,

14th Floor, 1100 Commerce Street, Dallas, Texas, 75242.


                                                 Respectfully Submitted,

                                                   __/s/ Megan Price ___
                                                   Megan Price
                                                   SBN 24065926
                                                   PRICE & PRICE LAW, P.C.
                                                   10,000 North Central Expressway
                                                   Suite 400
                                                   Dallas, TX 75231
 Case 18-34197-hdh13 Doc 53 Filed 11/27/19        Entered 11/27/19 14:38:55     Page 2 of 2



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                                CERTIFICATE OF SERVICE

   The undersigned hereby certifies that a true and correct copy of the OBJECTION TO PROOF OF
CLAIM #8 FILED BY BMO HARRIS BANK and Notice of Hearing on OBJECTION TO PROOF
OF CLAIM #8 FILED BY BMO HARRIS BANK was on this November 27, 2019 forwarded to the
following parties:

Daryl D. Rogers and Lovie Tasker-Rogers
P.O. Box 292278
Lewisville, TX 75029

BMO Harris Bank
PO Box 3040
Cedar Rapids, IA 52406

BMO Harris
c/o Ammar Dadabhoy
WONG FLEMING
77 Sugar Creek Center Blvd
Suite 401
Sugar Land, Texas 77478

AND BY ELECTRONIC TRANSMISSION:

Chapter 13 Trustee:
Thomas Powers

US Trustee

All Parties Requesting Notice



                                                  /s/Megan Price
                                                    Megan Price
